                       Case 8:18-cv-00654-AG-JDE Document 42 Filed 11/01/18 Page 1 of 6 Page ID #:518



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                        11   LINKSMART WIRELESS TECHNOLOGY, LLC
RUSS, AUGUST & KABAT




                        12                      UNITED STATES DISTRICT COURT
                        13                     CENTRAL DISTRICT OF CALIFORNIA
                        14
                        15    LINKSMART WIRELESS                       8:18-cv-00654-AG(JDEx) - LEAD
                        16    TECHNOLOGY, LLC                          JOINT STIPULATION TO STAY
                                                                       LITIGATION PENDING INTER
                        17                     Plaintiff,
                                                                       PARTES REVIEW
                        18    vs.
                                                                       [Proposed Order Submitted
                        19
                              GOGO LLC                                 Concurrently Herewith]
                        20
                                               Defendant.
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                                                   JOINT STIPULATION TO STAY PENDING IPR
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                         1          Plaintiff Linksmart Wireless Technology, LLC and Defendants Gogo LLC
                         2   and Panasonic Avionics Corp. hereby stipulate to stay this litigation pending the
                         3   inter partes review (“IPR”) of the patent-in-suit, U.S. Reissued Patent No. RE46,459
                         4   (“’459 Patent”), filed by Panasonic on October 9, 2018, Case No. IPR2019-00043
                         5   (“Panasonic IPR”). Further, although no additional IPRs have been filed against the
                         6   ’459 Patent yet, the parties believe additional IPRs may be filed against the ’459
                         7   Patent in the coming months and stipulate to stay this litigation pending any
                         8   additional IPRs as well.
                         9          For the Panasonic IPR, the parties expect the Patent Trial and Appeal Board
                        10   (“PTAB”) to issue a decision on institution in May 2019. Because this litigation is
                        11   in its early stages, the parties desire to conserve the parties’ and the Court’s
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                        12   resources, and allow the Panasonic IPR to run its course at the PTAB before
                        13   proceeding further in this litigation. Therefore, the parties stipulate to and seek a stay
                        14   of this litigation pending the Panasonic IPR proceeding. Specifically, the parties seek
                        15   a stay at least until the PTAB dismisses the IPR or issues a final written decision,
                        16   which is estimated to occur 18 months from now, or May 2020.
                        17          Further, the parties anticipate that additional IPRs may be filed against the
                        18   ’459 Patent, including potentially by Defendants here and other defendants in
                        19   parallel lawsuits in the District of Nevada and the Eastern District of New York that
                        20   were initiated within a month of this litigation. Because of the likelihood that
                        21   multiple additional IPRs may be filed in the coming months, the parties believe that
                        22   it would be most efficient to stay this litigation until all of the IPRs filed against the
                        23   ’459 Patent by a current defendant1 in the various Linksmart cases have either been
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                              The current defendants are: (C.D. Cal.) Gogo LLC, Aerovias de Mexico S.A. de C.V., Air
                        25   Canada, Société Air France, Koninklijke Luchtvaart Maatschappij, N.V., Alaska Airlines, Inc.,
                        26   American Airlines, Inc., British Airways, plc, Delta Air Lines, Inc., United Airlines, Inc.,
                             Panasonic Avionics Corp, Emirates, The Emirates Group, Southwest Airlines Co., WestJet
                        27   Airlines Ltd., and WestJet Operations Corp.; (Nev.) Caesars Entertainment Corp., Las Vegas
                             Sands Corp., Golden Nugget, Inc., Landry’s Inc., MGM Resorts International, and Wynn Las
                        28   Vegas, LLC; (E.D.N.Y.) DCI-Design Communications LLC and Deep Blue Communications,
                             LLC.
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                                                       JOINT STIPULATION TO STAY PENDING IPR
                       Case 8:18-cv-00654-AG-JDE Document 42 Filed 11/01/18 Page 3 of 6 Page ID #:520



                         1   dismissed or have reached a final written decision by the PTAB. The parties note
                         2   that Gogo is not involved in the Panasonic IPR. Linksmart hereby stipulates that it
                         3   will not assert that Gogo is a real party in interest or privy with respect to Panasonic’s
                         4   IPR. Linksmart further stipulates that it will not assert that Gogo is estopped under
                         5   35 U.S.C. § 315(e)(2) by the outcome of the Panasonic IPR. The parties agree to
                         6   notify the Court in the status reports proposed below if Gogo files a petition for an
                         7   IPR or is a real party in interest in any IPR filed against the ’459 Patent.
                         8          The parties agree to submit to the Court a status report within 14 days
                         9   following the PTAB’s decision on institution for the Panasonic IPR. If instituted, the
                        10   parties also agree to submit to the Court a status report within 14 days following the
                        11   PTAB’s final written decision (or dismissal) for the Panasonic IPR. The parties are
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                        12   amendable to providing periodic reports concerning the status of all other IPRs filed
                        13   against the ’459 Patent by a current defendant, as the Court deems appropriate.
                        14          In light of this stipulation, the parties respectfully request the Court to vacate
                        15   all deadlines in this litigation.
                        16          For the foregoing reasons, the Parties respectfully request that the Court enter
                        17   an order staying the above-captioned cases pending IPR proceedings and vacating
                        18   all deadlines. The Parties have stipulated to these terms and signed below.
                        19
                        20   DATED: November 1, 2018                     RUSS, AUGUST & KABAT
                                                                         Larry C. Russ
                        21                                               Marc A. Fenster
                                                                         Benjamin T. Wang
                        22                                               Kent N. Shum
                                                                         Bahrad A. Sokhansanj
                        23                                               Minna Y. Chan
                        24
                        25                                               By: /s/ Kent N. Shum
                                                                             Kent N. Shum
                        26
                                                                               Attorneys for Plaintiff
                        27                                                     Linksmart Wireless Technology,
                                                                               LLC
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                                                       JOINT STIPULATION TO STAY PENDING IPR
                       Case 8:18-cv-00654-AG-JDE Document 42 Filed 11/01/18 Page 4 of 6 Page ID #:521


                             DATED: November 1, 2018                 SIDLEY AUSTIN LLP
                         1                                           Theodore W. Chandler
                         2
                         3                                           By: /s/ Theodore W. Chandler
                                                                         Theodore W. Chandler
                         4
                                                                          Attorneys for Defendants
                         5                                                Gogo LLC., Aerovias De Mexico
                                                                          S.A. de C.V., Air Canada, Société
                         6                                                Air France and Koninklijke
                                                                          Luchtvaart Maatschappij, N.V.,
                         7                                                Alaska Airlines, Inc., American
                                                                          Airlines, Inc., British Airways, plc,
                         8                                                Delta Air Lines, Inc., United
                                                                          Airlines, Inc.
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                        10
                             DATED: November 1, 2018                 HAYNES AND BOONE, LLP
                        11                                           Kenneth G. Parker
RUSS, AUGUST & KABAT




                                                                     Russ Emerson
                        12                                           Winnie Wong
                        13
                                                                     By: /s/ Kenneth G. Parker
                        14                                               Kenneth G. Parker
                        15                                                Attorneys for Defendants
                                                                          Panasonic Avionics Corp., Emirates,
                        16                                                The Emirates Group, Southwest
                                                                          Airlines Co., WestJet Airlines, Ltd.,
                        17                                                WestJet Operations Corp.
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                                                   JOINT STIPULATION TO STAY PENDING IPR
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                         1                             SIGNATURE ATTESTATION
                         2         Pursuant to Local Civil Rule 5-4.3.4(a)(2), the undersigned attests that
                         3   signatories listed, and on whose behalf this filing is submitted, concur in the filing’s
                         4   content and have authorized the filing.
                         5
                         6
                         7   DATED: November 1, 2018                         /s/ Kent N. Shum
                                                                       Kent N. Shum
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RUSS, AUGUST & KABAT




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                                                             SIGNATURE ATTESTATION
                       Case 8:18-cv-00654-AG-JDE Document 42 Filed 11/01/18 Page 6 of 6 Page ID #:523



                         1                            CERTIFICATE OF SERVICE
                         2         The undersigned certifies that the foregoing document was filed electronically
                         3   through the Court’s CM/ECF system. As such, the foregoing document was served
                         4   on all counsel who have consented to electronic service pursuant to Local Civil Rule
                         5   5-3.2.1.
                         6
                         7
                         8   DATED: November 1, 2018                       /s/ Kent N. Shum
                                                                     Kent N. Shum
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RUSS, AUGUST & KABAT




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                                                           CERTIFICATE OF SERVICE
